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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 JAIMARIA BODOR,                                      CIVIL ACTION
 individually and on behalf of all others
 similarly situated,
                               Plaintiff,             NO. 5:19-cv-05787 (JMG)
                 vs.

 MAXIMUS FEDERAL SERVICES, INC.,
                    Defendant.

                    PLAINTIFF’S MOTION FOR APPROVAL OF
               PROPOSED CLASS ACTION SETTLEMENT (UNOPPOSED)

        Plaintiff Jaimaria Bodor filed this consumer class action alleging, on behalf of herself and

others similarly situated, that Maximus Federal Services, Inc. (“Maximus”) violated the Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692, et seq. by causing these borrowers’ tax

refunds to be withheld in violation of their federal rights, and by mispresenting the status of

borrowers’ debts to the U.S. Department of Treasury. After more than three years of litigation

during which the parties reviewed thousands of pages of discovery and completed pretrial

dispositive motion practice, the parties reached a class-wide settlement. The written settlement

agreement (“Agreement”) is attached as Exhibit 1.

        The proposed Agreement provides that each of the 274 borrowers in the Class will be sent

a check for $165—an amount intended to compensate the Class Members for their temporary loss

of funds. Ex. 1, Agreement § III.F.1. The checks will be sent by a professional settlement

administrator hired at Maximus’s expense. Id. § III.D. As is common in this Court, the proposed

Agreement provides for a service award to Ms. Bodor of $10,000. Id. § III.I. As the FDCPA is a

fee-shifting statute, the proposed Agreement also provides for payment of $190,000 in combined

attorney fees and costs. Id. § III.H.




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       Plaintiff accordingly brings this Motion to preliminarily approve the proposed Agreement

to settle on a class-wide basis and to notify the Class of the proposal, along with their right to

object and opt out, pursuant to Federal Rule of Civil Procedure 23(e)(1)–(2). In support, Plaintiff

incorporates by reference her Memorandum of Law, exhibits, and counsel Declarations filed

herewith. A proposed form of order is attached as Exhibit B to the Settlement Agreement.



DATED: July 21, 2023

                                             Respectfully submitted,

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                                             Counsel for Plaintiff and the Class


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                               CERTIFICATE OF SERVICE

       I, Jody T. Lopez-Jacobs, do hereby certify that a copy of the foregoing was served upon

all counsel of record by CM/ECF electronic filing.


Date: 7/21/2023                                      /s/ Jody T. López-Jacobs
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